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                                                                                 Washington County Circuit Court
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         IN THE CIRCUIT COURT OF WASHINGTON COUNTY, ARKANSAS
                           ___________ DIVISION

 KRISTI MAURER, individually                                                     PLAINTIFFS
 and as parent and next friend of
 BENJAMIN ELLIS MAURER, a minor
 and BENJAMIN ELLIS MAURER, individually
 VS.                              CASE NO. 72CV-22-_____


 WERNER ENTERPRISES, INC.;
 TIMOTHY JAY BELL                                                              DEFENDANTS
 and JOHN DOE ENTITIES 1-3

                                          COMPLAINT

       COMES NOW the Plaintiffs, Kristi Maurer, individually and as parent and next friend of

Benjamin Ellis Maurer, a minor and Benjamin Ellis Maurer, individually, by and through their

attorneys, RAINWATER, HOLT & SEXTON, P.A., and for their Complaint against the Defendants,

hereby state and allege the following:

                                         INTRODUCTION

       1.      This is a case of ordinary negligence, negligent hiring, negligent training,

negligent supervision, negligent retention, strict liability and recklessness that warrant damages

stemming from the Defendants’ careless, negligent, and reckless conduct.

                                 I. RESIDENCY & PARTIES

       2.      Plaintiff Kristi Maurer, individually and as parent and next friend of Benjamin

Ellis Maurer is a resident of Fayetteville, Washington County, Arkansas.


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         3.    On or about June 20, 2021, plaintiff Benjamin Ellis Maurer was a minor and

resided with his mother in Fayetteville, Washington County, Arkansas.

         4.    At this time Plaintiff Benjamin Ellis Maurer (hereinafter known as “Ellis”) is

and/or was at all times relevant to this incident a citizen and resident of Fayetteville, Washington

County, Arkansas.




         5.    Upon the Plaintiffs information and belief, Separate Defendant Timothy J. Bell

(hereinafter “Defendant Bell”) was at all times relevant a resident of Southlake, Tarrant County,

Texas.

         6.    Defendant Bell is believed to be the driver of a Werner Enterprises, Inc. tractor

and/or trailer involved in the incident with Plaintiff Ellis on or about June 20, 2021.

         7.    Upon the Plaintiffs’ information and belief, Defendant Bell may be served with

process at 604 Katelyn Lane, Southlake, Texas 76092.

         8.    Separate Defendant Werner Enterprises, Inc. (hereinafter “Defendant Werner”)

has been issued both a USDOT Motor Carrier ID Number (53467) and State Motor Carrier ID

Number (019852).




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       9.     Separate Defendant Werner filed a form BOC-3 with the Federal Motor Carrier

Safety Administration and/or the United States Department of Transportation naming Corporate

Creations Network, Inc., 609 SW 8th Street #600, Bentonville, Arkansas 72712 as its agent-for-

service in Arkansas.

       10.    Upon the Plaintiffs’ information and belief Separate Defendant Werner is a for-

profit, Nebraska corporation that operates as motor carrier within the United States, Canada and

Mexico, including the roadways and highways within the State of Arkansas.

       11.    Upon the Plaintiffs’ information and belief, Werner has its principal place of

business at 14507 Frontier Road, Omaha, Nebraska 68138.

       12.    Upon the Plaintiffs’ information and belief, the Arkansas Secretary of State shows

the registered agent-for-service of process for Defendant Werner to be Corporate Creations

Network, Inc. located at 609 SW 8th St, #600, Bentonville, Arkansas 72712.

       13.    Upon the Plaintiffs’ information and belief, Werner is licensed as an Interstate

motor carrier by the Federal Motor Safety Carrier SAFER report with the DOT# 53467. Werner

employs at least 9,689 drivers and operates at least 9,734 power units hauling general freight,

metals, logs, lumber, building materials, machinery and other large objects, fresh produce, grain

and animal feed, chemicals, dry bulk commodities paper products and/or refrigerated foods

doing business within the boundaries of the State of Arkansas. Werner is a transporter and/or

distributor of products using company owner and/or leased tractors.        See SAFER Report

attached hereto as Exhibit A.




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        14.    Upon the Plaintiffs’ information and belief, Separate Defendant Werner is the

owner and/or operator of the 2020 Freightliner tractor and trailer that was being driven by

Separate Defendant Bell at the time of the incident giving rise to action.

        15.    At the time of the incident giving rise to this action, Defendant Bell was acting

within the scope and course of his agency and/or employment and/or under the dominion and/or

control of Defendant Werner and was directed by Werner to transport various loads in interstate

commerce subject to separate contract carrier agreements, broker agreements and/or lease

agreements.

        16.    As a result of the relationship between Defendant Bell and Defendant Werner, all

alleged acts, omissions, negligence and/or recklessness of Defendant Bell as set forth in this

Complaint are hereby imputed to Defendant Werner and any unknown shipper under the Federal

Motor Carrier Act which is adopted by Arkansas state statute, as well as under the doctrine of

respondeat superior.

        17.    “Shipper,” as defined by 49 U.S.C. §13102(13), means: a person who is the

shipper, consignor, or consignee of a household goods shipment; is identified as the shipper,

consignor, or consignee of the face of the bill of lading; owns the goods being transported; and

pays his or her own tariff transportation charges. The shipper of goods in this incident is

presently unknown as Plaintiff does not have a copy of the bill of lading for Defendant Bell’s

load.

        18.    Pursuant to Ark. Code Ann §16-56-125, any person, for the purpose of tolling the

statute of limitations, may file a Complaint stating his or her cause of action in the appropriate

Court of this State, whenever the identity of the tortfeasor is unknown.

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       19.       In the alternative, the name or names of the unknown tortfeasor(s), individual

person(s), or entity(ities), shall be designated by the pseudo-name John Doe. Thus, in this case,

John Does 1-3 and John Doe Entities 1-3, in the alternative, is and/or are the official name(s) of

any individual person Defendant and/or entity with which any individual person Defendant may

be associated.

       20.       Upon determining the identity of the unknown tortfeasor(s), Plaintiff will amend

this Complaint by substituting the real name(s) for the pseudo-name.

       21.       The Plaintiffs have attached hereto the Affidavit of Plaintiffs’ counsel that the

identity of the tortfeasor(s) is presently unknown pursuant to Ark. Code Ann § 16-56-125. See

John Doe Affidavit attached hereto as Exhibit B.

       22.       The incident giving rise to this cause of action occurred at the intersection of

North College Avenue and East Lafayette Boulevard, Fayetteville, Arkansas.




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                             II. JURISDICTION AND VENUE

       23.    All of the preceding statements and/or allegations contained within paragraphs 1-

22 are hereby adopted and re-alleged herein word for word.




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        24.     This Court has jurisdiction pursuant to Ark. Code Ann. § 16-13-201(a), which

provides that circuit courts shall have original jurisdiction of all actions and proceedings for the

redress of civil grievances except where exclusive jurisdiction is given to other courts.

        25.     Venue is proper pursuant to Ark. Code Ann. § 16-60-101, which provides that all

actions for damages for personal injury may be brought in the county where the collision

occurred which caused the injury or in the county where the person or persons injured resided at

the time of the injury.

                                     III. BASIC PREMISE

        26.     This is a negligence case which arises from a motor vehicle collision that

occurred on or about June 20, 2021, at the intersection of North College Avenue and East

Lafayette Boulevard, Fayetteville, Arkansas.

                                           IV. FACTS

        27.     Plaintiffs re-allege those matters as set forth in paragraphs 1-26 above, as if set

forth fully herein.

        28.     Defendant Werner hauls general freight, metals, lumber, building materials,

machinery and large objects, fresh produce, liquids/gases, grains, feed for animals, chemicals,

dry bulk commodities, refrigerated food, beverages, paper products and construction items

and/or freight across the cities and/or roadways of the United States, including, but not limited to

roadways such as North College Ave., located in Fayetteville, Arkansas.

        29.     Defendant Werner has a large fleet of at least 9,734 tractors and employs and/or

contracts with at least 9,689 drivers. In the calendar year 2019 Werner reported that its fleet

drove 935,052,779 miles across the United States, including the state of Arkansas. See SAFER

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Report attached hereto as Exhibit A.

       30.     Taking information from a 24-month record that ended on May 27, 2022, Werner

had a total of more than 1,570 unsafe driving violations and at least 48 driver fitness violations

for multiple reasons, including, but not limited to: lack of vehicle maintenance, unsafe driving,

hours of service violations and driver fitness disqualifications. See SMS Reports attached

hereto as Exhibit C & D.

       31.     The Federal Motor Carrier Safety Administration (“FMCSA”) uses a Safety

Measurement System (“SMS”) to measure and gauge the safety of trucking carriers in the United

States and reports data collected within the previous two years.

       32.     According to the FMCSA’s SMS, in the two years before the filing of this

Complaint, motor carrier enforcement officers inspecting drivers and tractor-trailers found:

       (a.)    364 violations for failure to obey traffic control devices;

       (b.)    318 lane restriction violations;

       (c)     377 violations for speeding from 6-14 miles per hour over the speed limit;

       (d.)    108 violations for using a hand-held mobile telephone while operating a CMV;

       (e.)    33 improper lane change violations;

       (f.)    32 violations for failure to maintain lane;

       (g.)    16 violations for inattentive driving;

       (h.)    9 violations for failure to yield the right-of-way; and

       (I.)    5 violations for improper turns.

See SMS Reports attached hereto as Exhibit C & D.



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       33.     Defendant Werner, as employer and/or contractor for Defendant Bell, controlled

training for Bell on safety and driving standards, the Federal Motor Carrier Act Safety

Regulations, its internal safety and driving standards, applicable state and local laws and the

rules of the road.

       34.     On, or about June 20, 2021, Defendant Bell was directed by Defendant Werner to

deliver a load of goods and/or materials to a Dollar General Store located in Fayetteville,

Arkansas.

       35.     Werner controlled, managed, and/or supervised the manner, method and/or

procedure(s) for how the load would be transported, including, the date and time the transport

was to be picked up and delivered; the route to be taken; payment restrictions; the bill of Lading

and extensive driving instructions.

       36.     Defendants Werner and Bell were engaged in a joint venture with an equal right

to control the venture and an agreement among them to participate in a common enterprise for

the purpose of commercially transporting freight in interstate commerce and were acting within

the course and scope of this venture in furthering the business duties of each other and are liable

for the negligence of each other.

       37.     North College Avenue is a busy four lane roadway in Fayetteville city limits with

two (2) lanes each direction with a common turning lane in the middle lane. E. Lafayette Street

in Fayetteville is a city street crossing College Avenue and leads into a residential neighborhood

as you travel the eastern route.




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       38.    At the intersection of North College Avenue and East Lafayette Street, a right turn

from College Avenue leads to a single lane of traffic heading eastbound on Lafayette.




       39.    On or about June 20, 2021, Defendant Bell was traveling eastbound on North

College Avenue in the left-hand lane operating a 2020 Freightliner tractor pulling a trailer

placarded with “Dollar General.”




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       40.     Upon the Plaintiffs’ information and belief, the 2020 Freightliner and trailer were

owned and /or leased to and/or by Defendant Werner.

       41.     The intersection of College Avenue and Lafayette Street in Fayetteville is

controlled by traffic signals that grant the right of way of travel to motorists navigating the two

roadways.

       42.     While College Avenue has a turn lane and is five (5) lanes wide, East Lafayette

Street heading east is a two (2) lane roadway with one lane heading east, one west and, at the

intersection, a turn lane for traffic to make a left hand turn onto College when granted the right

of way by the controlling traffic light.
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       43.     On or about June 20, 2021, at approximately 10:50 AM, Plaintiff Benjamin Ellis

Maurer, a minor at the time, and a passenger were riding his 2012 Moto Ballistic moped in the

right-hand lane of North College Avenue approaching the intersection of North College Avenue

and Lafayette Street.




       44.     Separate Defendant Bell was traveling northbound in the left lane and in front of

Plaintiff on North College Avenue.




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       45.      The traffic signal for northbound traffic on College Avenue gave the right-of-way

to travel through the intersection to the northbound traffic as Plaintiff Ellis approached the

intersection.   The traffic signal at the intersection is one that does not allow for a right turn

arrow and both northbound lanes of traffic have solid green lights to grant the ability to go

through the intersection.




       46.      As Plaintiff Ellis approached the intersection with the green light to proceed

through the intersection, suddenly and without warning, Separate Defendant Bell made a right

turn from the left lane of North College Avenue onto East Lafayette Boulevard.




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       47.     The careless, reckless and/or negligent act by Defendant Bell caused the right lane

of traffic on College Avenue to be completely blocked and unable to go through the green light.

       48.     Defendant Bell, while attempting to make the careless, reckless and/or negligent

improper right-hand turn, cut the turn in such a manner as to drive the tractor and/or trailer off of

the roadway and onto the public sideway running parallel to Lafayette.




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      49.    Plaintiff Ellis attempted to come to a stop at the right curb line of North College

Avenue in an attempt to avoid a collision with the improperly turning tractor and trailer,

however, his avoidance maneuver was unsuccessful.

      50.    Plaintiff Ellis’ moped struck the right side of the trailer in the right lane of traffic

heading North on College Avenue.




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        51.     The speed and force of Defendant Bell’s actions pinned Plaintiff Ellis’ moped

under the rear axles of the trailer, causing the moped to be drug some distance down Lafayette,

with Plaintiff Ellis in tow.




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        52.      Despite his best efforts to avoid the tractor and trailer, Plaintiff Ellis was struck by

the trailer of Defendants’ truck and was subsequently pinned under the rear wheels on the right

side of the trailer.




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       53.     As a result of the collision, Plaintiff Ellis sustained severe personal injuries and

damages to his person and Plaintiff Maurer incurred significant medical bills.

                            V. CAUSE OF ACTION NO. 1
                     NEGLIGENCE OF SEPARATE DEFENDANT BELL

       54.     All of the allegations previously pled herein are re-alleged as though stated word-

for-word.

       55.     Separate Defendant Bell was negligent in the following particulars:

               (a)    Driving in such a careless manner as to evidence a failure to keep a proper
                      lookout for other traffic, in violation of Ark. Code Ann. § 27-51-104(a);

               (b)    Driving in such a careless manner as to evidence a failure to maintain
                      proper control, in violation of Ark. Code Ann. § 27-51-104(a), (b)(6) &
                      (b)(8);

               (c)    Driving at a speed greater than was reasonable and prudent under the
                      conditions and having regard to the actual and potential hazards then
                      existing, in violation of Ark. Code Ann. § 27-51-201(a)(1);

               (d)    Operating a vehicle in such a manner which would cause a failure to
                      maintain control, in violation of Ark. Code Ann. § 27-51-104(b)(6);

               (e)    Driving in a manner that was inattentive and such inattention was not
                      reasonable and prudent in maintaining vehicular control, in violation of
                      Ark. Code Ann. § 27-51-104(b)(8);

               (f)    Failing to maintain a reasonable speed and distance from other motorists
                      more closely than is reasonable and prudent, failing to have due regard for
                      the speed of vehicles and the traffic upon the highway, in violation of Ark.
                      Code Ann. § 27-51-305(a);

               (g)    Failing to keep a lookout for other vehicles, in violation of the common
                      law of Arkansas;

               (h)    Failing to keep his vehicle under control, in violation of the common law
                      of Arkansas;

               (i)    Failing to drive at a speed no greater than was reasonable and prudent

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                      under the circumstances, having due regard for any actual or potential
                      hazards, in violation of the common law of Arkansas;

               (j)    Driving too close to another vehicle, in violation of the common law of
                      Arkansas; and,

               (k)    Failing to drive on the right side of the roadway in violation of Ark. Code
                      Ann. § 27-51-301;

               (l)    Failing to drive within a single lane in violation of Ark. Code Ann. § 27-
                      51-302;

               (m)    Failing to properly yield the right-of-way in violation of Ark. Code Ann. §
                      27-51-503;

               (n)    Failing to properly stop in violation of Ark. Code Ann. § 27-51-601;

               (o)    Failing to yield on entering a highway from a private road or driveway in
                      violation of Ark. Code Ann. § 27-51-603;

               (p)    Failing to obey traffic-control signals in violation of Ark. Code Ann. §
                      27-52-107; and,

               (q)    Otherwise failing to exercise ordinary care under the circumstances.

       56.     In addition, Separate Defendant Bell failed to use the ordinary and reasonable

care required under the circumstances by engaging in the following separate and independent

acts or omissions:

               (a)    Failing to obtain adequate education, direction and preparation, as well as
                      becoming aware of policy and guidance, prior to operating the tractor-
                      trailer he was driving;

               (b)    Operating a commercial motor vehicle without the required knowledge to
                      do so safely;

               (c)    Operating a commercial motor vehicle without the required skills to do so
                      safely;

               (d)    Failing to look far enough ahead in at any time prior to the collision;


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               (e)    Failing to recognize a hazard and drive so as to prevent the hazard from
                      turning into an emergency; and

               (f)    Failing to pay attention to the road and traffic in front of him.

        57.    At all relevant times, Separate Defendant Bell was a driver or operator of

“commercial motor vehicles” as defined by 49 C.F.R. parts 382 et seq. of the Federal Motor

Carrier Safety Regulations. These federal regulations imposed certain mandatory duties and

prohibitions upon Separate Defendant Bell to ensure that in driving a commercial motor vehicle

he conducted himself in a manner that protected public health, safety and welfare.

        58.    Separate Defendant Bell violated the Federal Motor Carrier Safety Regulations, as

adopted by the Arkansas State Highway Commission Regulations, including but not limited to:

               (a)    Violation of §392.2 in failing to operate a commercial vehicle in
                      accordance with the laws, ordinances, and regulations of the State of
                      Arkansas;

               (b)    Violation of §392.3 providing that no driver shall operate a motor vehicle,
                      while the driver’s ability or alertness is so impaired, or so likely to become
                      impaired, through fatigue, illness, or any other cause, as to make it unsafe
                      for him to begin or continue to operate a commercial motor vehicle; and

               (c)    Violation of §392.14 requiring extreme caution and reduced speed when
                      hazardous conditions exists.

        59.    A reasonably careful person, operating a commercial motor vehicle under similar

circumstances, would foresee that the failures in duties of care listed above would result in

devastating injuries, including possible death, to other persons traveling on public highways like

Plaintiffs.




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          60.   Defendants Werner and Bell failed to have in place and/or failed to follow

adequate and/or proper policies and/or procedures for the care and safety of the commuting

public.

          61.   Defendants Bell and Werner failed to have in place and/or failed to follow

adequate and/or proper policies and/or procedures in accordance with accepted industry

standards ordinarily used by companies in the same or similar business.

          62.   The Arkansas Supreme Court has recognized that an employer may be held liable

for the conduct of a careless, reckless and/or incompetent employee and/or independent

contractor when the employer was negligent in hiring the employee and/or contractor. The

employer may also be liable in the care of hiring an employee and/or independent contractor

when the employer has undertaken to perform certain duties and/or activities and negligently

fails them thereafter or performs them in a negligent manner. Stoltze v. Arkansas Valley Elec.

Co-op Corp., 354 Ark. 601, 607, 127 S.W.2d 466, 470 (2003).

          63.   Defendant Werner had a duty to reasonably investigate, monitor, retain, supervise

and/or train Defendant Bell with respect to safety issues and the safe and proper speed, routes

traveled and operation of their tractors.

          64.   As the direct, foreseeable, legal and proximate result of the negligence of

Defendant Bell, Plaintiffs suffered serious bodily injuries and medical expenses.

                          VI. CAUSE OF ACTION NO. 2
                  NEGLIGENCE OF SEPARATE DEFENDANT WERNER

          65.   All of the allegations previously pled herein are re-alleged as though stated word-

for-word.


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       66.    Separate Defendant Werner was negligent in the following particulars:

              (a)    Failing to have adequate policies and procedures regarding its drivers
                     driving and using a phone simultaneously;

              (b)    Failing to adequately train, educate, direct, prepare, set policy or give
                     guidance to its drivers regarding driving and using a phone
                     simultaneously;

              (c)    Failing to adequately train, educate, direct, prepare, set policy or give
                     guidance to its drivers regarding safe driving practices;

              (d)    Failing to exercise ordinary care with respect to training, educating,
                     directing, preparing, setting policy or giving guidance to its drivers
                     regarding safe driving practices; and

              (e)    Otherwise failing to exercise ordinary care under the circumstances.

       67.    In addition, Separate Defendant Werner failed to use ordinary and reasonable care

required under the circumstances by engaging in the following separate and independent acts and

omissions:

              (a)    That Separate Defendant Werner failed to properly train, monitor and
                     supervise Defendant Bell in the safe operation of the tractor trailer truck
                     when approaching hazards;

              (b)    That Separate Defendant Werner failed to properly train, monitor and
                     supervise Separate Defendant Bell about distracted driving;

              (c)    That Separate Defendant Werner failed to properly train, monitor and
                     supervise Separate Defendant Bell about the duties imposed upon him
                     by the FMSCA and as a holder of a CDL;

              (d)    That Separate Defendant Werner knew or should have known that
                     Separate Defendant Bell was not competent, satisfactory, qualified, or
                     safety-conscious enough to operate the tractor-trailer he was employed to
                     drive;

              (e)    That Separate Defendant Werner misjudged and/or overestimated the
                     skills and ability of Separate Defendant Bell to drive the tractor-trailer.


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       68.     That Separate Defendant Werner failed to comply with industry standards as set

forth by the DOT and relevant federal regulations dictated for motor carriers in properly training

drivers such as Separate Defendant Bell, which is evidence of negligence, including but not

limited to the following particulars:

               (a)     Failing to design, develop, and implement adequate safety management
                       controls (including policies and procedures) related to speed management,
                       space management, seeing ahead, total stopping distance, hazard
                       perception, accident countermeasures, and/or fatigue and distracted
                       driving awareness;

               (b)     Failing to implement sufficient policies and procedures to ensure the
                       training of Separate Defendant Bell regarding speed management, space
                       management, seeing ahead, total stopping distance, hazard perception,
                       accident countermeasures and fatigue, and distracted driving awareness;

               (c)     Failing to train, monitor and supervise the driving habits of Separate
                       Defendant Bell;

               (d)     Supervision of its business operations in failing to properly monitor the
                       driving habits and records of its drivers, employees, and/or agents,
                       specifically Separate Defendant Bell;

               (e)     Supervision of its drivers, employees, and/or agents, specifically Separate
                       Defendant Bell;

               (f)     Instruction of its drivers, employees, and/or agents, specifically Separate
                       Defendant Bell;

               (g)     Entrustment of its tractor-trailer to its drivers, employees, and/or agents,
                       specifically Separate Defendant Bell;

               (h)     Entrustment of a tractor-trailer to its drivers, employees, and/or agents,
                       specifically the Separate Defendant Bell;

               (i)     Compliance with federal and/or state regulation and industry standards, as
                       referenced in this Complaint and as developed during the discovery of this
                       case;

               (j)     Improperly auditing the logs and supporting documentation of its drivers,
                       employees, and/or agents, specifically the Separate Defendant Bell;
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               (k)     Failing to utilize available information and technology to properly monitor
                       its drivers, employees, and/or agents, specifically the Separate Defendant
                       Bell for compliance with company policies and/or state and federal
                       regulations;

               (l)     Allowing Separate Defendant Bell to operate a commercial motor vehicle
                       despite knowledge of his inability to do so safely;

               (m)     Failing to have adequate safety management controls in place or in use to
                       ensure compliance with the required safety fitness standard;

               (n)     Failing to budget an appropriate amount of money to design, develop, and
                       implement safety management controls (including policies and
                       procedures) in the areas of speed management, space management, seeing
                       ahead, total stopping distance, hazard perception, accident
                       countermeasures and fatigue and distracted driving awareness; and

               (o)     Failing to utilize available technology to monitor and audit the safety
                       performance of its driver’s including Separate Defendant Bell.

       69.     That the conduct of Defendants are in violation of state and/or federal law,

including but not limited to, 49 C.F.R. §383.110-113, 49 C.F.R. §390.11, 49 C.F.R. §390.3; 49

C.F.R. §392.1, 49 C.F.R. §392.2; 49 C.F.R. §392.3; 49 C.F.R. §392.14, 49 C.F.R. §392.7, 49

C.F.R. §393.4, 49 C.F.R. §396.11, 49 C.F.R. §396.17, 49 C.F.R. §396.3, A.C.A. §27-51-104,

§27-51-201, §27-51-204 and §27-52-305.

       70.     Defendant Werner had a duty to have adequate polices and/or procedures in place

to ensure that its employees, agents, and/or contractors it allowed to operate and drive its

vehicles and handle, transport and communicate concerning and/or document said loads were

competent, safe, adequately trained, and qualified.

       71.     Defendant Werner’s negligence in hiring an unqualified and/or incompetent

driver and/or leasing its tractor and/or trailer to an unqualified and/or incompetent driver, was the

proximate cause of the injuries sustained by Plaintiffs as set forth further herein.
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                         VII. CAUSE OF ACTION NO. 3
                RESPONDEAT SUPERIOR AND VICARIOUS LIABILITY

       72.     All of the allegations previously pled herein are re-alleged as though stated word-

for-word.

       73.     Separate Defendant Bell, upon the Plaintiffs’ information and belief, was driver of

a commercial motor vehicle and as such is an employee and/or contractor of Separate Defendant

Werner as defined by 49 C.F.R. 390.5.

       74.     Defendant Werner is responsible and vicariously liable for the negligence of

Defendant Bell under the legal doctrines of joint enterprise, principles of agency, and respondeat

superior.

       75.     At all times relevant to this case Defendant Bell was an agent and/or employee of

Defendant Werner.

       76.     Upon the Plaintiffs’ information and belief, Werner did not have any policies in

place at the time of the collision giving rise to this action regarding driver training of employees.

       77.     Defendant Werner did not train Defendant Bell on safe driving practices and/or

techniques on how to handle the tractor and trailer he was operating before placing him in an

employment position that required him to drive to complete his job tasks.

       78.     Defendant Werner failed in their duties and were negligent when they chose not

to have in place and/or chose not to follow proper policies and procedures, resulting in the

inadequate training of its drivers who were not qualified and/or competent to exercise sound

judgment and safely drive a commercial tractor-trailer or handle, transport, communicate

concerning the delivery of materials.


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        79.     Defendant Werner had a duty to have adequate policies and procedures in place to

ensure it properly and sufficiently supervised those whose employment position required them to

drive a vehicle on the roadways to complete their job tasks and those who handle and/or

transport materials.

        80.     Upon information and belief, Defendant Werner did not have policies in place at

the time of the incident giving rise to this action requiring the supervision of employees that

would be required to handle and/or transport materials as part of their job.

        81.     Defendant Werner did not supervise Defendant Bell to ensure he was using sound

judgment and/or practicing safe driving techniques and habits while working for Werner to

complete his job tasks, including, but not limited to, the proper speed and lane for the route

traveled as well as the improper lane change without signal to make an unsafe turn across and/or

in front of traffic blocking their right of way to travel.

        82.     The negligence of Defendant Bell is imputed to Defendant Werner as a matter of

law.

                                VIII. PROXIMATE CAUSATION

        83.     All of the allegations previously pled herein are re-alleged as though stated word-

for-word.

        84.     The Defendants’ negligence proximately caused the collision described herein

and the injuries and damages sustained by the Plaintiffs.

                       IX. INJURIES AND COMPENSATORY DAMAGES

        85.     All of the allegations previously pled herein are re-alleged as though stated word-

for-word.

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        86.     Plaintiff Benjamin Ellis Maurer sustained personal injuries and damages as a

result of the collision.

        87.     Plaintiff Benjamin Ellis Maurer sustained the following physical injuries:

                a.         comminuted right tibial plateau to shaft fracture;

                b.         right intra-articular fracture of proximal tibia without displacement;

                c.         fracture of the left femoral condyle;

                d.         hematoma to the right knee joint;

                e.         salter I fracture of the left distal fibula;

                f.         crush injury of the right lower leg;

                g.         multiple bruises, abrasions; and

                h.         permanent scarring.




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     88.   Plaintiff Ellis is entitled to the following damages:

           (a)    the nature, extent, duration, and permanency of his injuries;

           (b)    the full extent of the injuries he sustained;

           (c)    the expense of his medical care, treatment and services received, including
                  transportation, board and lodging expenses and those expenses that are
                  reasonably certain to be required in the future;

           (d)    any pain, suffering and mental anguish experienced in the past and
                  reasonably certain to be experienced in the future;

           (e)    the value of any earnings, earning capacity, profits, or salary lost in the
                  past and that are reasonably certain to be lost in the future;

           (f)    the visible results of his injuries; and,

           (g)    any property damages he sustained.

     89.   Plaintiff Ellis Maurer was a minor at the time of this collision.

     90.   As a result of his age at the time of the accident, Plaintiff Kristi Maurer, as parent
           and natural guardian of Benjamin Ellis Maurer, a minor, is entitled to the
           following damages:
                                             30
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               (a)     the expense of her son’s medical care, treatment and services received,
                       including transportation, board and lodging expenses and those expenses
                       that are reasonably certain to be required in the future;

               (b)     the value of any earnings, profits or salary lost in the past;

               (c)     the nature, extent, duration and permanency of her son’s injuries; and

               (d)     the full extent of the injuries her son sustained.

       91.     The injuries and damages described herein have been suffered in the past and will

be continuing in the future.

                               X. DEMAND FOR JURY TRIAL

       92.     Plaintiffs hereby demands a trial by jury.

                                   XI. DEMAND & PRAYER

       93.     The Plaintiffs hereby demand judgment against Defendants for a sum in excess of

that required for federal court jurisdiction in diversity of citizenship cases and sufficient to fully

compensate them for their damages.




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       94.     Plaintiffs hereby demand judgment against Defendants for pre-judgment interest

and post-judgment interest at the maximum rate allowed by law; for reasonable expenses; costs;

and for all other proper relief to which they may be entitled.

                                              Respectfully Submitted,

                                              Attorneys for Plaintiffs


                                      By:     /s/ Bryce Brewer
                                              Bryce Brewer, AR Bar #2002013
                                              John Rainwater, AR Bar #2009137
                                              RAINWATER, HOLT & SEXTON, P.A.
                                              P.O. Box 17250
                                              Little Rock, AR 72222
                                              (501) 868-2500
                                              (501) 868-2505 - facsimile




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                IN THE CIRCUIT COURT OF WASHINGTON COUNTY, ARKANSAS
                                 4TH CIRCUIT DIVISION 2

                      KRISTI MAURER ET AL V WERNER ENTERPRISES ET AL

                                             72CV-22-1419

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

TIMOTHY JAY BELL
604 Katelyn Lane
Southlake, TX 76092

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Bryce Brewer
P.O. Box 17250
Little Rock, AR 72222

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:



                                                     CLERK OF COURT
Address of Clerks Office

KYLE SYLVESTER, CIRCUIT CLERK
CIRCUIT COURT OF WASHINGTON COUNTY
280 NO. COLLEGE, #302
                                                     Penelope G Reinoso, DC
FAYETTEVILLE, AR 72701
                                                     Date: 06/17/2022
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No. 72CV-22-1419 This summons is for TIMOTHY JAY BELL (name of Defendant).



                                         PROOF OF SERVICE

❏ On _________________ [date] I personally delivered the summons and complaint to the defendant
at _________________________________________________ [place]; or

❏ After making my purpose to deliver the summons and complaint clear, on _________________
[date] I left the summons and complaint in the close proximity of the defendant by
___________________________________________________________ [describe how the
summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

❏ On _________________ [date] I left the summons and complaint with __________________, a
member of the defendant's family at least 18 years of age, at __________________________
[address], a place where the defendant resides; or

❏ On _________________ [date] I delivered the summons and complaint to __________________
[name of individual], an agent authorized by appointment or by law to receive service of summons on
behalf of __________________________ [name of defendant]; or

❏ On _________________ [date] at ____________________________ [address], where the
defendant maintains an office or other fixed location for the conduct of business, during normal
working hours I left the summons and complaint with
_______________________________________________________________________________
[name and job description]; or

❏ I am the plaintiff or an attorney of record for the plaintiff in a lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.

❏ I am the plaintiff or attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

❏ Other [specify]:
______________________________________________________________________________

❏ I was unable to execute service because:
______________________________________________________________________________
______________________________________________________________________________

My fee is $ ____.
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To be completed if service is by a sheriff or deputy sheriff:

Date: ______________         SHERIFF OF ________ COUNTY, ARKANSAS

                             By: ____________________________
                             [Signature of server]

                             ________________________________
                             [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: ______________         By: ____________________________
                             [Signature of server]

                             ________________________________
                             [Printed name]

Address: ___________________________________________________________
         ___________________________________________________________

Phone: ____________________________

Subscribed and sworn to before me this date: _____________

                             _____________________________
                             Notary Public

My commission expires: ___________________

Additional information regarding service or attempted service:
______________________________________________________________________________
______________________________________________________________________________
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                IN THE CIRCUIT COURT OF WASHINGTON COUNTY, ARKANSAS
                                 4TH CIRCUIT DIVISION 2

                      KRISTI MAURER ET AL V WERNER ENTERPRISES ET AL

                                             72CV-22-1419

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

WERNER ENTERPRISES, INC.
c/o Corporate Creations Network, Inc.
609 SW 8th Street, #600
Bentonville, AR 72712

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Bryce Brewer
P.O. Box 17250
Little Rock, AR 72222

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:



                                                     CLERK OF COURT
Address of Clerks Office

KYLE SYLVESTER, CIRCUIT CLERK
CIRCUIT COURT OF WASHINGTON COUNTY
280 NO. COLLEGE, #302
                                                     Penelope G Reinoso, DC
FAYETTEVILLE, AR 72701
                                                     Date: 06/17/2022
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No. 72CV-22-1419 This summons is for WERNER ENTERPRISES, INC. (name of Defendant).



                                         PROOF OF SERVICE

❏ On _________________ [date] I personally delivered the summons and complaint to the defendant
at _________________________________________________ [place]; or

❏ After making my purpose to deliver the summons and complaint clear, on _________________
[date] I left the summons and complaint in the close proximity of the defendant by
___________________________________________________________ [describe how the
summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

❏ On _________________ [date] I left the summons and complaint with __________________, a
member of the defendant's family at least 18 years of age, at __________________________
[address], a place where the defendant resides; or

❏ On _________________ [date] I delivered the summons and complaint to __________________
[name of individual], an agent authorized by appointment or by law to receive service of summons on
behalf of __________________________ [name of defendant]; or

❏ On _________________ [date] at ____________________________ [address], where the
defendant maintains an office or other fixed location for the conduct of business, during normal
working hours I left the summons and complaint with
_______________________________________________________________________________
[name and job description]; or

❏ I am the plaintiff or an attorney of record for the plaintiff in a lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.

❏ I am the plaintiff or attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

❏ Other [specify]:
______________________________________________________________________________

❏ I was unable to execute service because:
______________________________________________________________________________
______________________________________________________________________________

My fee is $ ____.
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To be completed if service is by a sheriff or deputy sheriff:

Date: ______________         SHERIFF OF ________ COUNTY, ARKANSAS

                             By: ____________________________
                             [Signature of server]

                             ________________________________
                             [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: ______________         By: ____________________________
                             [Signature of server]

                             ________________________________
                             [Printed name]

Address: ___________________________________________________________
         ___________________________________________________________

Phone: ____________________________

Subscribed and sworn to before me this date: _____________

                             _____________________________
                             Notary Public

My commission expires: ___________________

Additional information regarding service or attempted service:
______________________________________________________________________________
______________________________________________________________________________
